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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

LAUREL HEIGHTS APARTMENTS                     §,
                                              §
       Plaintiff                              §
                                              §
v.                                            §            CASE NO. 5:17-cv-00888
                                              §            JURY
GREAT LAKES REINSURANCE (U.K.)                §
PLC F/K/A GREAT LAKES                         §
REINSURANCE (U.K.) SE                         §
                                              §
       Defendant                              §

                                  NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT:

       Please take notice that Defendant, Great Lakes Insurance SE, f/k/a Great Lakes

Reinsurance (UK), SE (incorrectly named “Great Lakes Reinsurance (U.K.) PLC f/k/a Great

Lakes Reinsurance (U.K.) SE” and hereinafter referred to as “Defendant”), while fully reserving

all rights and defenses, files this Notice of Removal to the United States District Court for the

Western District of Texas, San Antonio Division.        In support of its Notice of Removal,

Defendant respectfully shows as follows:

                    I.     NATURE OF THE PENDING STATE CASE

       1.      On or about August 4, 2017, Plaintiff, Laurel Heights Apartments (“Plaintiff”)

filed, a civil action styled Laurel Heights Apartments v. Great Lakes Reinsurance (U.K.) PLC

F/K/A Great Lakes Reinsurance (U.K.) SE, under Cause No. C2017-1329D in the 433rd Judicial

District Court of Comal County, Texas.

       2.      That matter is an insurance dispute, wherein Plaintiff alleges in its Original

Petition that its property, located at 483 Laurel Lane, New Braunfels, Comal County, Texas




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78130 and insured under a policy issued by Defendant, sustained wind and/or hail damage on

May 23, 2015. Plaintiff further alleges, inter alia, that Defendant violated Chapters 541 and 542

of the Texas Insurance Code in the investigation and handling of an insurance claim for alleged

damages to Plaintiff’s real property.             Plaintiff also alleges breach of contract, and breach of the

duty of good faith and fair dealing.

         3.       Defendant has attached hereto the documents required to be filed with this Notice

of Removal.1

                                            II.        JURISDICTION

         4.       Pursuant to 28 U.S. Code § 1441(a), Defendant removes this action to the District

Court of the United States for the Western District of Texas, San Antonio Division, because it is

the District and Division embracing the place where such action is pending. In support thereof,

Defendant would show that this action is between citizens of different states, and the amount in

controversy exceeds $75,000.00.

A.       Diversity of the Parties

         5.       Plaintiff’s Original Petition confirms that it is a citizen of Texas.                   Specifically,

Plaintiff pleads that it “resides in Comal County, Texas”.2

         6.       Defendant is not a citizen of Texas. Defendant is a Societas Europea incorporated

in Germany and registered with the commercial register of the local court of Munich under

number HRB 230278. Defendant’s registered office is at Königinstraße 107, 80802 Munich,

Germany.




1
  Plaintiff’s Original Petition, attached hereto as Exhibit A; Return of Service, attached hereto as Exhibit B; Index of
Matters Being Filed, attached hereto as Exhibit C; Copy of State Court Register of Actions , attached hereto as
Exhibit C-1; Copy of Process, attached hereto as Exhibit C-2; List of All Counsel of Record, attached hereto as
Exhibit C-3; and Civil Cover Sheet, attached hereto as Exhibit C-4.
2
  Exhibit A at page 1.

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B.         Amount in Controversy

           7.          As demonstrated herein by a preponderance of the evidence, it is apparent from

Plaintiff’s pleadings that the amount in controversy in this matter exceeds the jurisdictional

minimum of $75,000.00, exclusive of interest and costs.                  Plaintiff specifically pleads for

monetary relief over monetary relief over $100,000.00 but not more than $200,000.00. 3

                                        III.     TIMING OF REMOVAL

           8.          Defendant was served through its Registered Agent on August 25, 2017.         This

Notice of Removal is being filed within 30 days of service of Plaintiff’s Original Petition upon

Great Lakes pursuant to 28 U.S.C. § 1446(b), and is filed less than one year after commencement

of the action, pursuant to 28 U.S. Code § 1446(c).

           9.          This Notice is therefore timely filed.

                      IV.    NOTICE TO ADVERSE PARTIES AND STATE COURT

           10.         As the removing parties, Defendant will give Plaintiff prompt written notice of

this Notice of Removal pursuant to 28 U.S.C. § 1446(d).

           11.         Defendant will also file a copy of this Notice of Removal with the 433rd Judicial

District Court of Comal County, Texas., where the state court action is currently pending, as

required by 28 U.S.C. § 1446(d).

                                                 V.      ANSWER

           12.         Defendant has not filed any responsive pleadings in the state court action, except

the Notice of Removal as required by the Federal Rules of Civil Procedure. Defendant will file

an Answer to Plaintiff’s lawsuit in this Honorable Court.




3
    Id. at page 14.

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                                     VI.     JURY DEMAND

       13.      Defendant hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules

of Civil Procedure.

                             VII.    CONCLUSION AND PRAYER

       14.      In light of the foregoing, Defendant respectfully removes this civil action styled

Laurel Heights Apartments v. Great Lakes Reinsurance (U.K.) PLC F/K/A Great Lakes

Reinsurance (U.K.) SE, originally pending as Cause No. C2017-1329D in the 433rd Judicial

District Court of Comal County, Texas.

       15.      Defendant prays for such other and further relief, both general and special, at law

and in equity, to which it may show itself justly entitled.

                                                       Respectfully submitted by,

                                                       /s/ Les Pickett
                                                       Les Pickett (Lead Counsel)
                                                         Federal I.D. No. 14306
                                                         State Bar No. 15980520
                                                       Juvie C. Cardenas
                                                         Federal I.D. No. 939594
                                                         State Bar No. 24052012

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ATTORNEYS FOR DEFENDANT




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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 12th day of September 2017, a copy of the above and
foregoing was filed electronically with the Clerk of Court using the CM/ECF system, which will
send a notice of electronic filing to all CM/ECF participants.

       Robert A. Pollom
       Jake S. Rogiers
       K ETTERMAN ROWLAND & WESTLUND
       16500 San Pedro, Suite 302
       San Antonio, Texas 78232

       ATTORNEYS FOR PLAINTIFF


                                                  /s/ Juvie C. Cardenas
                                                  Les Pickett (Lead Counsel)
                                                  Juvie C. Cardenas




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